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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                            )
Peter Bepler, in his personal capacity and  )
derivatively on behalf of nominal defendant )
Anybill Financial Services Inc.             )
1830 15th Street, N.W.                      )
Washington, D.C. 20009                      ) Civil No. __________
                                            )
                Plaintiff,                  )
                                            )
        vs.                                 )
                                            )
Daniel Matthew Vorobek                      )
(a/k/a Daniel Matthew Voorhees)             )
2750 32nd Street, N.W.                      )
Washington, D.C. 20008,                     )
                                            )
                Defendant,
                                            )
and                                         )
                                            )
Christopher John Vorobek                    )
(a/k/a Christopher John Dorobek)            )
2750 32nd Street, N.W.                      )
Washington, D.C. 20008,                     )
                                            )
                Defendant,                  )
                                            )
and                                         )
                                            )
Anybill Financial Services Inc.             )
1801 Pennsylvania Avenue, N.W., Suite 700 )
Washington, D.C. 20006                      )
                                            )
                Nominal Defendant,          )
                                            )
and                                         )
                                            )
Anybill Financial Services Inc.,
1801 Pennsylvania Avenue, N.W., Suite 700 )
                                            )
Washington, D.C. 20006
                                            )
                Defendant.                  )
                                            )
                                            )
                                            )
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                                   NOTICE OF REMOVAL

TO:    THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
       OF COLUMBIA AND TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446,

Defendant Anybill Financial Services, Inc. (“Anybill”), by and through its undersigned counsel,

hereby removes this proceeding, entitled Peter Bepler, et al. v. Daniel Matthew Vorobek, et al.,

Civil Action No. 2017 CA 003949 B (the “Superior Court Action”), currently pending in the

Superior Court for the District of Columbia (the “Superior Court”), to this Court. The grounds

for removal are as follows:

I. Background and Parties

       1.      Peter Bepler filed a complaint in the Superior Court Action on June 6, 2017 (the

“Initial Complaint”). A true and correct copy of the Summons and Complaint filed in the

Superior Court Action are attached hereto as Exhibit 1.1

       2.      The Initial Complaint named as defendants Anybill, Matthew Voorhees,2 and

Christopher Dorobek.3

       3.      The parties named in the Initial Complaint were not diverse, and the Initial

Complaint asserted no federal question.

       4.      Mr. Bepler served Anybill with the Initial Complaint on August 4, 2017.

       5.      In a court filing, Mr. Bepler claims to have served Mr. Dorobek with the Intial

Complaint.


1
  Anybill is publicly filing this Notice of Removal with a redacted copy of Exhibit 1 while
seeking leave of Court to seal portions of the allegations in that document. Anybill is also today
filing a Motion to Seal with the Notice of Removal and unredacted Exhibits 1 and 2.
2
  Identified in the complaint as Daniel Matthew Vorobek, for business purposes he uses his birth
name “Voorhees,” and therefore he is referred to as Mr. Voorhees herein.
3
  Identified in the complaint as Christopher John Vorobek, his birth name is “Dorobek,” and to
reduce confusion he is referred to as Mr. Dorobek herein.
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       6.      Anybill is advised that as of this date, Mr. Bepler has not served Mr. Voorhees

with a complaint in this action.

       7.      On August 30, 2017, Mr. Bepler filed a First Amended Complaint. A true and

correct copy of the First Amended Complaint is attached hereto as Exhibit 2. 4 The First

Amended Complaint was served on all counsel of record via the Superior Court’s electronic

filing system on the same day.

II. Basis for Removal

       8.      The Court has original subject-matter jurisdiction pursuant to 28 U.S.C. § 1331

because the First Amended Complaint asserts a federal question.

       9.      The First Amended Complaint, unlike the Initial Complaint, alleges violations of

18 U.S.C. §§ 1962(c) and (d), predicated on allegations of violations of 18 U.S.C. § 1343 (the

“RICO claims”). See Ex. 2, First Amended Complaint ¶¶ 97-126, 223-32.

       10.     Because the RICO claims raise a federal question, this action became removable

with the filing of the First Amended Complaint, which first asserted them. See Int’l Bhd. Of

Teamsters, Local 734 Health & Welfare Trust Fund v. Philip Morris Inc., 196 F.3d 818, 822 (7th

Cir. 1999) (“reference to federal law and RICO” means “defendants were entitled to remove”);

Weisman v. Fribush, 911 F.2d 726, 1990 WL 116844, at *1 (4th Cir. 1990) (unpublished table

decision) (“The action was properly removed to federal court pursuant to 28 U.S.C. § 1441(b),

because the RICO claim is clearly one “arising under” federal law.”).




4
  Anybill is publicly filing this Notice of Removal with a redacted copy of Exhibit 2 while
seeking leave of Court to seal portions of the allegations in that document. Anybill is also today
filing a Motion to Seal with the Notice of Removal and unredacted Exhibits 1 and 2.
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III. Removal to This Court is Timely and Proper

         11.   Anybill has filed this Notice of Removal within thirty days of August 30, 2017,

when the First Amended Complaint was filed and served upon Anybill, from which pleading it

first could be ascertained that the case involves a federal question and is subject to removal.

Therefore this Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b)(3).

         12.   The action is properly removed to this Court pursuant to 28 U.S.C. § 1441(a).

         13.   Pursuant to 28 U.S.C. § 1446(a), Anybill has attached hereto a copy of all

process, pleadings, and orders served upon defendants other than the Initial Complaint and First

Amended Complaint in this action as Exhibit 3.

         14.   Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants who have been properly

joined and served consent to removal of this action: Anybill and Mr. Dorobek consent to

removal, and Mr. Voorhees has not been served.

         15.   Pursuant to 28 U.S.C. § 1446(d), Anybill will promptly serve this Notice on Mr.

Bepler and file a copy of this Notice with the clerk of the Superior Court. Anybill will also file

with this Court a certificate of service upon Mr. Bepler and of the filing with the Superior Court.

IV. Conclusion

         16.   WHEREFORE, Anybill Financial Services, Inc. respectfully removes this

proceeding, entitled Peter Bepler, et al. v. Daniel Matthew Vorobek, et al., Civil Action No.

2017 CA 003949 B, currently pending in the Superior Court for the District of Columbia, to this

Court.
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Washington, D.C.                       Respectfully submitted,
Dated: September 13, 2017

                                       By:     /s/ Kenneth J. Phaehler
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                                             Daniel Morris, D.C. Bar No. 1018371
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